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 8                        IN THE UNITED STATES DISTRICT COURT
 9                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                  Case No. 3:18-cr-04683-GPC
                                                Hon. Gonzalo P. Curiel
12         Plaintiff,
13                                              DEFENDANTS’ PROPOSED
     v.                                         PRELIMINARY JURY INSTRUCTIONS
14
     JACOB BYCHAK, et al.
15
           Defendants.
16
17
18
19 I.      INTRODUCTION.
20         At the hearing on May 6, 2022, the Court ordered the parties to file preliminary jury
21 instructions to include definitions of relevant terms that jurors would not otherwise know.
22 Dkt. 406. Accordingly, Jacob Bychak, Mark Manoogian, Mohammed Abdul Qayyum, and
23 Petr Pacas (“Defendants”), by and through counsel, submit the following preliminary
24 instructions.
25 \ \ \
26 \ \ \
27 \ \ \
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 1    Model Jury Proposed
 2    Instruction Instruction
      No.         No.
 3
      1.1                       Duty of Jury
 4    1.2 (as      1            The Charge — Presumption of Innocence
 5    modified)
 6                 2            Sending Spam is Not Illegal

 7    1.3                       What is Evidence
      (include
 8    point 3)
 9    1.4                       What is Not Evidence
10    1.5 (as      3            Direct and Circumstantial Evidence
      modified)
11
      1.6                       Ruling on Objections
12    1.7 (as      4            Credibility of Witnesses
13    modified)

14    1.8                       Conduct of the Jury
      1.9                       No Transcript Available to the Jury
15
      1.10                      Taking Notes
16
      1.11                      Outline of Trial
17
      1.13                      Separate Consideration for Each Defendant
18
      1.14                      Questions to Witnesses by Jurors During Trial
19
      1.16                      Bench Conferences and Recesses
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 1 COURT'S INSTRUCTION NO.
   DEFENDANT'S PROPOSED INSTRUCTION NO. 1
 2
 3
                   1.2 – The Charge—Presumption of Innocence (as modified)
 4
           This is a criminal case brought by the United States government. The government
 5
     charges Mr. Bychak, Mr. Manoogian, Mr. Qayyum, and Mr. Pacas with: (1) Conspiracy;
 6
     (2) Wire Fraud; and (3) Electronic Mail Fraud.        The charges against Mr. Bychak,
 7
     Mr. Manoogian, Mr. Qayyum, and Mr. Pacas are contained in the indictment.             The
 8
     indictment simply describes the charges the government brings against Mr. Bychak,
 9
     Mr. Manoogian, Mr. Qayyum, and Mr. Pacas. The indictment is not evidence and does not
10
     prove anything.
11
           Mr. Bychak, Mr. Manoogian, Mr. Qayyum, and Mr. Pacas have each pleaded not
12
     guilty to the charges and are presumed innocent unless the jury unanimously finds that the
13
     government has proven each of them guilty beyond a reasonable doubt. In addition,
14
     Mr. Bychak, Mr. Manoogian, Mr. Qayyum, and Mr. Pacas have the right to remain silent
15
     and never have to prove innocence or to present any evidence.
16
           To help you follow the evidence, I will now give you a brief summary of the terms
17
     you will hear about in this case:
18
19
     ARIN – ARIN is the American Registry for Internet Numbers, which is the regional Internet
20
     registry for the United States that was founded in 1997.        It is a non-governmental
21
     organization that manages the distribution of Internet number resources.
22
23
24 Spamhaus – The Spamhaus Project is an international organization based overseas in the
25 Principality of Andorra (a microstate on the Iberian Peninsula). Spamhaus was founded in
26 1998 and its self-proclaimed mission is to eliminate all forms of commercial email and
27 identify companies and individuals it deems to be sending spam. Spamhaus is not a
28 governmental or law enforcement agency. It does not operate in the United States and is

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 1 not subject to American laws.
 2
 3 IP Addresses – Internet Protocol (IP) Addresses are a series of numbers that identify any
 4 device on a network. Computers use IP addresses to communicate with each other both
 5 over the Internet as well as on other networks.
 6
 7 IP Announcement – To announce an IP address means someone notifies the Internet that
 8 they have permission to use that IP address.
 9
10 Netblocks – A netblock is a range of consecutive IP addresses.
11
12 Registrant – A “registrant” of an IP address is the person or entity who has entered into a
13 Registration Services Agreement (“RSA”) with ARIN.
14
15 Spam – Spam is unsolicited commercial messages sent in bulk by email.
16
17         To help you follow the evidence, I will now give you a brief summary of the elements
18 of the crimes that the government must prove to convict the defendants:
19
20         To convict Mr. Bychak, Mr. Manoogian, Mr. Qayyum, and Mr. Pacas of conspiracy,
21 the government must prove, beyond a reasonable doubt, that:
22       [Model Jury Instruction 11.5 for Conspiracy]
23
24         To convict Mr. Bychak, Mr. Manoogian, Mr. Qayyum, and Mr. Pacas of wire fraud,
25 the government must prove, beyond a reasonable doubt, that:
26       [Model Jury Instruction 15.35 for Wire Fraud]
27
28         To convict Mr. Bychak, Mr. Manoogian, Mr. Qayyum, and Mr. Pacas of electronic
                                          4                     18-cr-04683-GPC
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 1 mail fraud in violation of the CAN-SPAM Act, the government must prove, beyond a
 2 reasonable doubt, that:
 3         First, each defendant knowingly and falsely represented themselves to be the
 4 registrant and the legitimate successor in interest to the registrant of five and more Internet
 5 Protocol addresses;
 6         Second, each defendant intentionally initiated the transmission of multiple
 7 commercial electronic mail messages from such addresses;
 8         Third, the volume of electronic mail messages transmitted in furtherance of the
 9 offense exceeded 2,500 during any 24-hour period, 25,000 during any 30-day period, and
10 250,000 during any 1-year period;
11         Fourth, there was no right for recipients of the electronic mails to decline to receive
12 additional electronic mail from the same source; and
13         Fifth, each defendant knowingly used, or caused to be used, electronic mails affecting
14 interstate commerce.
15
16                                           Authority
17         9th Cir. Jury Instr. 1.2 (modified); See United States v. Cummings, 468 F.2d
18         274, 280 (9th Cir. 1972) (the presumption of innocence remains “throughout
           the trial” and goes “with the jury when it deliberates”; “the presumption does
19         not disappear when evidence to the contrary is received.”); 18 U.S.C. §
20         1037(a)(5); 9th Cir. Jury Instr. 15.32 & 15.35; “The CAN-SPAM Act was
           enacted to prevent senders of electronic mail from deceiving recipients ‘as to
21         the source of content of such mail’ and to ensure that recipients ‘have a right
22         to decline to receive additional commercial electronic mail from the same
           source.’” United States v. Kilbride, 584 F.3d 1240, 1256 (9th Cir. 2009).
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 1 COURT'S INSTRUCTION NO.
 2 DEFENDANT'S PROPOSED INSTRUCTION NO. 2
 3
 4                                 Sending Spam is Not Illegal
 5         Sending unsolicited, commercial mass electronic mail messages, colloquially known
 6 as “spam,” is not illegal. Sending advertisements by email is an established and worthwhile
 7 device in the toolbox of accepted marketing practices, which Congress did not intend to
 8 ban.
 9
10                                           Authority
11         Gordon v. Virtumundo, Inc., 575 F.3d 1040, 1045, 1047–48 (9th Cir. 2009)
12         (Ninth Circuit recognized that the Controlling the Assault of Non–Solicited
           Pornography and Marketing (“CAN–SPAM”) Act of 2003, 15 U.S.C. § 7701
13         et seq., “does not ban spam outright, but rather provides a code of conduct to
14         regulate commercial e-mail messaging practices” and “consumers and
           Congress have come to view e-mail, when fairly employed, as an established
15         and worthwhile device in the toolbox of accepted marketing practices”); White
16         Buffalo Ventures, LLC v. Univ. of Texas at Austin, 420 F.3d 366, 376, 368-69
           (5th Cir. 2005) (Fifth Circuit acknowledged that sending spam is not in and of
17         itself illegal, but rather there is a distinction between “legitimate” spam and
18         “illegal” spam that violates federal and state regulations); United States v.
           Kilbride, 507 F. Supp. 2d 1051, 1055 (D. Ariz. 2007) (“The CAN–SPAM Act
19         did not make the mere sending of bulk emails a crime. Congress acted more
20         narrowly”); Livingston v. United States, No. 19-CV-12656, 2020 WL
           5525536, at *2 (D.N.J. Sept. 15, 2020) (in addressing petitioner’s claim that
21         he was “factually innocent” because “spam is legal,” a New Jersey district
22         court distinguished his actions with legal spamming, noting that “Petitioner
           was prosecuted for the particular (and illegal) way he went about
23         sending spam, not the mere act of spamming”).
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     Case 3:18-cr-04683-GPC Document 415 Filed 05/11/22 PageID.6392 Page 8 of 12



 1 COURT'S INSTRUCTION NO.
 2 DEFENDANT'S PROPOSED INSTRUCTION NO. 3
 3
                     1.5 – Direct and Circumstantial Evidence (as modified)
 4
           Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact,
 5
     such as testimony by a witness about what that witness personally saw or heard or did.
 6
     Circumstantial evidence is indirect evidence, that is, it is proof of one or more facts from
 7
 8 which one can find another fact.
 9      Before you may rely on circumstantial evidence to conclude that a fact necessary to

10 find a defendant guilty has been proved, you must be convinced that the prosecution has
11 proved each fact essential to that conclusion beyond a reasonable doubt.
12         Also, before you may rely on circumstantial evidence to find the defendant guilty,

13 you must be convinced that the only reasonable conclusion supported by the circumstantial
14 evidence is that the defendant is guilty. If you can draw two or more reasonable conclusions
15 from the circumstantial evidence, and one of those reasonable conclusions points to a
16 defendant’s innocence and another to guilt, you must accept the one that points to
17 innocence. However, when considering circumstantial evidence, you must accept only
18 reasonable conclusions and reject any that are unreasonable.
19
20                                           Authority

21         9th Cir. Jury Instr. 1.5 (modified); Judicial Council of California Criminal Jury
           Instructions (CALCRIM) 224 - Circumstantial Evidence: Sufficiency of
22         Evidence (2007).
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 1 COURT'S INSTRUCTION NO.
 2 DEFENDANT'S PROPOSED INSTRUCTION NO. 4
 3
 4                      1.7 – Credibility of Witnesses (as modified)
 5         In deciding the facts in this case, you may have to decide which testimony to believe
 6 and which testimony not to believe. You may believe everything a witness says, or part of
 7 it, or none of it.
 8         In considering the testimony of any witness, you may take into account:
 9         (1)    the witness’s opportunity and ability to see or hear or know the things testified
10                to;
11         (2)    the witness’s memory;
12         (3)    the witness’s manner while testifying;
13         (4)    the witness’s interest in the outcome of the case, if any;
14         (5)    the witness’s bias or prejudice, such as whether or not the witness is receiving
15                benefits for their testimony, if any;
16         (6)    whether other evidence contradicted the witness’s testimony;
17         (7)    the reasonableness of the witness’s testimony in light of all the evidence;
18         (8)    whether the witness made any prior inconsistent statements; and
19         (9)    any other factors that bear on believability.
20         The weight of the evidence as to a fact does not necessarily depend on the number of
21 witnesses who testify. What is important is how believable the witnesses were, and how
22 much weight you think their testimony deserves.
23
24                                             Authority
25         9th Cir. Jury Instr. 1.7 (modified); 9th Cir. Jury Instr. 6.9.
26
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                                          8                     18-cr-04683-GPC
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                                         9                     18-cr-04683-GPC
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     Case 3:18-cr-04683-GPC Document 415 Filed 05/11/22 PageID.6395 Page 11 of 12



 1           CERTIFICATION OF AUTHORIZATION TO SIGN SIGNATURE
 2         The undersigned counsel of record for Mohammed Abdul Qayyum certifies that the
 3 content of this document is acceptable to each of the Defendants’ counsel whose electronic
 4 signature appears thereon, and that I have obtained their authorization to sign this document
 5 on their behalf.
 6
 7                                                /s/ Whitney Z. Bernstein
                                                      Whitney Z. Bernstein
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                                            1                      3:18-cr-04683-GPC
                      CERTIFICATE OF AUTHORIZATION TO SIGN SIGNATURE
     Case 3:18-cr-04683-GPC Document 415 Filed 05/11/22 PageID.6396 Page 12 of 12



 1                                CERTIFICATE OF SERVICE
 2         Counsel for the Defendant certifies that the foregoing pleading has been
 3 electronically served on the following parties by virtue of their registration with the
 4 CM/ECF system:
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